
KHOUZAM, Judge.
The State of Florida appeals the dismissal of its prosecution of Kieron W. James for possession of a controlled substance. The trial court had dismissed the charge upon a finding that the relevant statute, section 893.13, Florida Statutes (2010), was unconstitutional. See Shelton v. Sec’y, Dep’t of Corr., 802 F.Supp.2d 1289 (M.D.Fla.2011), rev’d, 691 F.3d 1348 (11th Cir. 2012). The statute has since been found constitutional in State v. Adkins, 96 So.3d 412 (Fla.2012). We therefore reverse with instructions to vacate the order of dismissal and reinstate the cause.
Reversed and remanded for further proceedings.
ALTENBERND and CASANUEVA, JJ., Concur.
